






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-05-239 CR


____________________



CHESTER PETE BOONE JR., Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 93608






MEMORANDUM OPINION


	Chester Pete Boone Jr. was convicted and sentenced on an indictment for evading
arrest or detention involving use of a motor vehicle.  Boone filed a notice of appeal on
May 31, 2005.  The trial court entered a certification of the defendant's right to appeal in
which the court certified that this is a plea-bargain case and the defendant has no right of
appeal.  See Tex. R. App. P. 25.2(a)(2).  The trial court's certification has been provided
to the Court of Appeals by the district clerk.


	On June 6, 2005, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a
part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								___________________________

								       CHARLES KREGER

									         Justice


Opinion Delivered July 27, 2005

Do Not Publish

Before McKeithen, C.J., Gaultney and Kreger, JJ.


